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 1   VICTOR M. FELIX, SBN 179622
     victor.felix@procopio.com
 2   ROBERT H. SLOSS, SBN 87757
     robert.sloss@procopio.com
 3   PROCOPIO, CORY, HARGREAVES &
        SAVITCH LLP
 4   633 W. Fifth Street, Suite 2868
     Los Angeles, CA 90071
 5   Telephone: 619.238.1900
     Facsimile: 619.235.0398
 6
     DANIEL E. YONAN (pro hac vice to be filed)
 7   Email: dyonan@sternekessler.com
     MICHAEL E. JOFFRE (pro hac vice to be filed)
 8   Email: mjoffre@sternekessler.com
     NIRAV N. DESAI (pro hac vice to be filed)
 9   Email: ndesai@sternekessler.com
     JONATHAN TUMINARO (pro hac vice to be filed)
10   Email: jtuminar@sternekessler.com
     STERNE, KESSLER, GOLDSTEIN & FOX P.L.L.C.
11   1100 New York Avenue, N.W.
     Washington, D.C. 20005
12   Telephone: 202-371-2600
     Facsimile: 202-371-2540
13
     Attorneys for Plaintiff
14   JUUL LABS, INC.

15                             IN THE UNITED STATES DISTRICT COURT

16         FOR THE CENTRAL DISTRICT OF CALIFORNIA—EASTERN DIVISION

17   JUUL LABS, INC., a Delaware corporation,
                                                       Case No.
18                             Plaintiff,
                                                       PLAINTIFF JUUL LABS, INC.’S
19                  v.                                 COMPLAINT FOR PATENT
                                                       INFRINGEMENT
20   VAPE4U, LLC, a California limited liability
     company,                                    DEMAND FOR JURY TRIAL
21
                               Defendant.
22

23                             COMPLAINT FOR PATENT INFRINGEMENT

24          Plaintiff Juul Labs, Inc. (“Juul” or “Plaintiff”) files this Complaint against Defendant

25   Vape4U, LLC (“Vape4U” or “Defendant”) and alleges as follows:

26                                          NATURE OF THIS ACTION

27          1.      This is a civil action arising out of Vape4U’s patent infringement in violation of

28   the Patent Laws of the United States, 35 U.S.C. §§ 271 and 281-285.

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 1                                               PARTIES

 2          1.       Juul is a privately-held corporation organized and existing under the laws of

 3   Delaware, having a principal place of business at 560 20th Street, San Francisco, CA 94107.

 4          2.       On information and belief, Vape4U is a California limited liability company with

 5   its principal place of business at 8926 Benson Avenue, Suite E, Montclair, CA 91763. California

 6   Secretary of State corporate records available on-line for Vape4U are attached hereto as Exhibits

 7   1 and 2.

 8                                    JURISDICTION AND VENUE

 9          3.       This Court has subject-matter jurisdiction over Juul’s patent-infringement claims

10   under 28 U.S.C. §§ 1331 and 1338(a).

11          4.       This Court has personal jurisdiction over Vape4U because Vape4U is

12   incorporated in this judicial district, and it has purposefully distributed the accused Zalt Pod

13   products within California, made those products available for sale through an established

14   distribution chain, including on Vape4U’s website (www.vapezalt.com), and Juul’s cause of

15   action for patent infringement arises out of these activities. See Exhibit 3 [Web Printout of

16   Vape4U’s Online Store Showing Several Zalt Pods for Sale]; Exhibit 4 [Web Printout of

17   Vape4U’s Online Store Showing Berry Lemonade Zalt Pods for Sale]; Exhibit 15 [Web Printout

18   of Terms and Conditions identifying Vape4U as the owner of vapezalt.com].

19          5.       Venue in this judicial district is proper for Vape4U under 28 U.S.C. §§ 1391 and

20   1400(b) because Vape4U resides in this judicial district, regularly conducts business in this

21   District, and because Vape4U has committed acts of infringement in this judicial district.

22                   COUNT I: INFRINGEMENT OF U.S. PATENT NO. 10,058,129

23          6.       Juul re-alleges and incorporates by reference Paragraphs 1-5 above, as if fully set

24   forth herein.

25          7.       On August 28, 2018, the United States Patent and Trademark Office duly and

26   lawfully issued United States Patent Number 10,058,129, entitled “Vaporization device systems

27   and methods,” to inventors James Monsees, Adam Bowen, Steven Christensen, Joshua

28   Morenstein, and Christopher Nicholas Hibma Cronan. The ’129 patent issued from U.S.

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 1   Application No. 15/379,898, filed December 15, 2016. There are no fees currently due with

 2   respect to the ’129 patent.

 3           8.      The ’129 patent was duly assigned to Juul, which is the assignee of all right, title,

 4   and interest in and to the ’129 patent and possesses the exclusive right of recovery for past,

 5   present, and future infringement. Each and every claim of the ’129 patent is valid and

 6   enforceable. A true and correct copy of the ’129 patent is attached as Exhibit 5.

 7           9.      Juul virtually marks its products with the appropriate patent numbers, including

 8   the ’129 patent.

 9           10.     On information and belief, Vape4U manufactures, uses, imports, distributes,

10   offers to sell, and/or sells in the United States the Zalt Pod cartridges that infringe the ’129 patent

11   under 35 U.S.C. § 271(a). Specifically, the Zalt Pod cartridges infringe claims 1-3, 5-8, 12, 13,

12   16-20, and 22 of the ’129 patent at least because these pods include each and every limitation of

13   these claims either literally or under the doctrine of equivalents. An exemplary claim chart for

14   the Zalt Pod cartridges is attached as Exhibit 6.

15           11.     By its actions, Vape4U’s infringement of the ’129 patent has irreparably harmed

16   Juul. Unless Vape4U’s infringing acts are enjoined by this Court, Juul will continue to suffer

17   additional irreparable injury. Juul has no adequate remedy at law.

18           12.     By its actions, Vape4U’s infringement of the ’129 patent has damaged, and

19   continues to damage, Juul in an amount yet to be determined, of at least a reasonable royalty

20   and/or lost profits that Juul would have made but for Vape4U’s infringing acts.

21                 COUNT II: INFRINGEMENT OF U.S. PATENT NO. 10,104,915

22           13.     Juul re-alleges and incorporates by reference Paragraphs 1-12 above, as if fully

23   set forth herein.

24           14.     On October 23, 2018, the United States Patent and Trademark Office duly and

25   lawfully issued United States Patent Number 10,104,915, entitled “Securely attaching cartridges

26   for vaporizer devices,” to inventors Adam Bowen, Steven Christensen, James Monsees, Joshua

27   Morenstein, and Christopher Nicholas HibmaCronan. The ’915 patent issued from U.S.

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 1   Application No. 15/815,666, filed November 16, 2017. There are no fees currently due with

 2   respect to the ’915 patent.

 3           15.     The ’915 patent was duly assigned to Juul, which is the assignee of all right, title,

 4   and interest in and to the ’915 patent and possesses the exclusive right of recovery for past,

 5   present, and future infringement. Each and every claim of the ’915 patent is valid and

 6   enforceable. A true and correct copy of the ’915 patent is attached as Exhibit 7.

 7           16.     Juul virtually marks its products with the appropriate patent numbers, including

 8   the ’915 patent.

 9           17.     On information and belief, Vape4U manufactures, uses, imports, distributes,

10   offers to sell, and/or sells in the United States the Zalt Pod cartridges that infringe the ’915 patent

11   under 35 U.S.C. § 271(a). Specifically, the Zalt Pod cartridges infringe claims 10, 15, 17, 29-31,

12   and 32 of the ’915 patent at least because these pods include each and every limitation of these

13   claims either literally or under the doctrine of equivalents. An exemplary claim chart for the Zalt

14   Pod cartridges is attached as Exhibit 8.

15           18.     By its actions, Vape4U’s infringement of the ’915 patent has irreparably harmed

16   Juul. Unless Vape4U’s infringing acts are enjoined by this Court, Juul will continue to suffer

17   additional irreparable injury. Juul has no adequate remedy at law.

18           19.     By its actions, Vape4U’s infringement of the ’915 patent has damaged, and

19   continues to damage, Juul in an amount yet to be determined, of at least a reasonable royalty

20   and/or lost profits that Juul would have made but for Vape4U’s infringing acts.

21                 COUNT III: INFRINGEMENT OF U.S. PATENT NO. 10,111,470

22           20.     Juul re-alleges and incorporates by reference Paragraphs 1-19 above, as if fully

23   set forth herein.

24           21.     On October 30, 2018, the United States Patent and Trademark Office duly and

25   lawfully issued United States Patent Number 10,111,470, entitled “Vaporizer apparatus,” to

26   inventors James Monsees, Adam Bowen, Steven Christensen, Joshua Morenstein, and

27   Christopher Nicholas HibmaCronan. The ’470 patent issued from U.S. Application No.

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 1   15/833,873, filed December 6, 2017. There are no fees currently due with respect to the ’470

 2   patent.

 3             22.    The ’470 patent was duly assigned to Juul, which is the assignee of all right, title,

 4   and interest in and to the ’470 patent and possesses the exclusive right of recovery for past,

 5   present, and future infringement. Each and every claim of the ’470 patent is valid and

 6   enforceable. A true and correct copy of the ’470 patent is attached as Exhibit 9.

 7             23.    Juul virtually marks its products with the appropriate patent numbers, including

 8   the ’470 patent.

 9             24.    On information and belief, Vape4U manufactures, uses, imports, distributes,

10   offers to sell, and/or sells in the United States the Zalt Pod cartridges that infringe the ’470 patent

11   under 35 U.S.C. § 271(a). Specifically, the Zalt Pod cartridges infringe claims 1-4, 7, 8, 10, and

12   11 of the ’470 patent at least because these pods include each and every limitation of these

13   claims either literally or under the doctrine of equivalents. An exemplary claim chart for the Zalt

14   Pod cartridges is attached as Exhibit 10.

15             25.    By its actions, Vape4U’s infringement of the ’470 patent has irreparably harmed

16   Juul. Unless Vape4U’s infringing acts are enjoined by this Court, Juul will continue to suffer

17   additional irreparable injury. Juul has no adequate remedy at law.

18             26.    By its actions, Vape4U’s infringement of the ’470 patent has damaged, and

19   continues to damage, Juul in an amount yet to be determined, of at least a reasonable royalty

20   and/or lost profits that Juul would have made but for Vape4U’s infringing acts.

21                   COUNT IV: INFRINGEMENT OF U.S. PATENT NO. 10,117,465

22             27.    Juul re-alleges and incorporates by reference Paragraphs 1-26 above, as if fully

23   set forth herein.

24             28.    On November 6, 2018, the United States Patent and Trademark Office duly and

25   lawfully issued United States Patent Number 10,117,465, entitled “Vaporization device systems

26   and methods,” to inventors James Monsees, Adam Bowen, Steven Christensen, Joshua

27   Morenstein, and Christopher Nicholas HibmaCronan. The ’465 patent issued from U.S.

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 1   Application No. 15/813,096, filed November 14, 2017. There are no fees currently due with

 2   respect to the ’465 patent.

 3           29.     The ’465 patent was duly assigned to Juul, which is the assignee of all right, title,

 4   and interest in and to the ’465 patent and possesses the exclusive right of recovery for past,

 5   present, and future infringement. Each and every claim of the ’465 patent is valid and

 6   enforceable. A true and correct copy of the ’465 patent is attached as Exhibit 11.

 7           30.     Juul virtually marks its products with the appropriate patent numbers, including

 8   the ’465 patent.

 9           31.     On information and belief, Vape4U manufactures, uses, imports, distributes,

10   offers to sell, and/or sells in the United States the Zalt Pod cartridges that infringe the ’465 patent

11   under 35 U.S.C. § 271(a). Specifically, the Zalt Pod cartridges infringe claims 1-7, 9-19 and 20

12   of the ’465 patent at least because these pods include each and every limitation of these claims

13   either literally or under the doctrine of equivalents. An exemplary claim chart for the Zalt Pod

14   cartridges is attached as Exhibit 12.

15           32.     By its actions, Vape4U’s infringement of the ’465 patent has irreparably harmed

16   Juul. Unless Vape4U’s infringing acts are enjoined by this Court, Juul will continue to suffer

17   additional irreparable injury. Juul has no adequate remedy at law.

18           33.     By its actions, Vape4U’s infringement of the ’465 patent has damaged, and

19   continues to damage, Juul in an amount yet to be determined, of at least a reasonable royalty

20   and/or lost profits that Juul would have made but for Vape4U’s infringing acts.

21                 COUNT V: INFRINGEMENT OF U.S. PATENT NO. 10,117,466

22           34.     Juul re-alleges and incorporates by reference Paragraphs 1-33 above, as if fully

23   set forth herein.

24           35.     On November 6, 2018, the United States Patent and Trademark Office duly and

25   lawfully issued United States Patent Number 10,117,466, entitled “Vaporization device systems

26   and methods,” to inventors James Monsees, Adam Bowen, Nicholas Jay Hatton, Steven

27   Christensen, Joshua Morenstein, and Christopher Nicholas HibmaCronan. The ’466 patent issued

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 1   from U.S. Application No. 15/815,645, filed November 16, 2017. There are no fees currently due

 2   with respect to the ’466 patent.

 3          36.     The ’466 patent was duly assigned to Juul, which is the assignee of all right, title,

 4   and interest in and to the ’466 patent and possesses the exclusive right of recovery for past,

 5   present, and future infringement. Each and every claim of the ’466 patent is valid and

 6   enforceable. A true and correct copy of the ’466 patent is attached as Exhibit 13.

 7          37.     Juul virtually marks its products with the appropriate patent numbers, including

 8   the ’466 patent.

 9          38.     On information and belief, Vape4U manufactures, uses, imports, distributes,

10   offers to sell, and/or sells in the United States the Zalt Pod cartridges that infringe the ’466 patent

11   under 35 U.S.C. § 271(a). Specifically, the Zalt Pod cartridges infringe claims 1, 4-8, 10, 12, 14,

12   16-22 and 23 of the ’466 patent at least because these pods include each and every limitation of

13   these claims either literally or under the doctrine of equivalents. An exemplary claim chart for

14   the Zalt Pod cartridges is attached as Exhibit 14.

15          39.     By its actions, Vape4U’s infringement of the ’466 patent has irreparably harmed

16   Juul. Unless Vape4U’s infringing acts are enjoined by this Court, Juul will continue to suffer

17   additional irreparable injury. Juul has no adequate remedy at law.

18          40.     By its actions, Vape4U’s infringement of the ’466 patent has damaged, and

19   continues to damage, Juul in an amount yet to be determined, of at least a reasonable royalty

20   and/or lost profits that Juul would have made but for Vape4U’s infringing acts.

21                                        PRAYER FOR RELIEF

22          WHEREFORE, Plaintiff requests judgment against Vape4U as follows:

23          A.      That Vape4U and all of its subsidiaries, affiliates, officers, agents, servants,

24   employees, attorneys, and its heirs, successors and assigns, and all persons acting in concert or

25   participation with Vape4U and each of them, be immediately enjoined and restrained,

26   preliminarily and permanently, without bond, from manufacturing, distributing, selling or

27   offering to sell in the United States or importing into the United States products infringing the

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 1   claims of the patents-at-issue; and deliver to Plaintiff all products that infringe the patents-at-

 2   issue;

 3            B.     A judgment by the Court that Vape4U has infringed U.S. Patent Nos. 10,058,129;

 4   10,104,915; 10,111,470; 10,117,465, and 10,117,466;

 5            C.     An award of damages for infringement of U.S. Patent Nos. 10,058,129;

 6   10,104,915; 10,111,470; 10,117,465, and 10,117,466 together with prejudgment interest and

 7   costs, said damages to be trebled by reason of the intentional and willful nature of Vape4U’s

 8   infringement, as provided by 35 U.S.C. § 284;

 9            D.     A determination that this case is “exceptional” under 35 U.S.C. § 285, and an

10   award of reasonable attorneys’ fees;

11            E.     That any monetary award includes pre- and post-judgment interest at the highest

12   rate allowed by law;

13            F.     For costs of suit; and

14            G.     For such other or further relief as the Court deems just and proper.

15                                             JURY DEMAND

16            Under Rule 38 of the Federal Rules of Civil Procedure, Plaintiff respectfully demands a

17   trial by jury of any issues triable of right by a jury.

18

19   Dated: November 20, 2018                    /s/ Victor M. Felix
20                                               Victor M. Felix
                                                 Robert H. Sloss
21                                               PROCOPIO, CORY, HARGREAVES
                                                  & SAVITCH LLP
22
                                                 633 W. Fifth Street, Suite 2868
23                                               Los Angeles, CA 90071
                                                 Telephone: 619.238.1900
24                                               Facsimile: 619.235.0398
25                                               victor.felix@procopio.com
                                                 robert.sloss@procopio.com
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 1                                  Daniel E. Yonan
                                    Michael E. Joffre
 2                                  Nirav N. Desai
                                    Jonathan Tuminaro
 3                                  STERNE, KESSLER, GOLDSTEIN & FOX
                                    PLLC
 4
                                    1100 New York Avenue, NW
 5                                  Washington, DC 20005
                                    (202) 371-2600
 6                                  (202) 371-2540 (fax)
 7                                  dyonan@sternekessler.com
                                    mjoffre@sternekessler.com
 8                                  ndesai@sternekessler.com
                                    jtuminar@sternekessler.com
 9
                                    Attorneys for Plaintiff Juul Labs, Inc.
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